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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 5.0.3
                                 Eastern Division

Wilson Sporting Goods Co.
                                     Plaintiff,
v.                                                       Case No.: 1:11−cv−07150
                                                         Honorable Joan H. Lefkow
PSI 91, Inc.
                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, June 21, 2012:


        MINUTE entry before Honorable Joan H. Lefkow:Pursuant to Joint Notice of
Stipulated Dismissal [33], the complaint and counterclaims are dismissed with prejudice,
subject to the parties' settlement agreement. Each party to pay its own costs and fees. Case
dismissed. Civil case terminated. Mailed notice(mad, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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